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DEPOSITION OF KRISTINE BELL , 3/18/2015

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 I together?                                           I      A. Sure. Well, we started at the point
 2    Q. Yes.                                         2    where we bought our ticket, and we walked
 3    A. Yes.                                         3    through. We walked through where the birds
 4    Q. Where did you start from? Where did          4    were, and the reptiles were, and we proceeded
 5 you meet?                                          5    out into where the larger animals were. It
 6    A. Ames.                                        6    was basically walking by and through each
 7    Q. And what information had you                 7    area and looking at the animals, looking at
 8 received about the zoo prior to going there?       8    the conditions the animals were living in.
 9    A. I had seen pictures and I had heard          9       Q. When you say we, were you with
10 about the zoo.                                     10   somebody else when you were walking through?
11      Q.  Where had you seen the pictures?          11      A. I was with Nancy and Lisa.
12      A. I had seen aerial photographs that         12      Q. All the time?
13   Lisa Kuehl had taken.                            13      A. We were all in the same general
14      Q. When you say she took aerial               14   area.
15   photographs, she flew herself over the zoo,      15      Q. How about Pam Sellner, was she with
16   or what?                                         16   you at some point in time?
17      A. She was with her husband.                  17      A. She was not with me.
18      Q. And she took the photographs?              18      Q. Was she with anybody else in your
19      A. She did.                                   19   group?
20      Q. What are these photographs                 20      A. She was with Nancy when Nancy went
21   purporting to show?                              21   and asked to please provide water for some of
22      A. The one that sticks in my mind was         22   the animals. It was very hot that day. It
23   the aerial shot of the Scottish cattle and       23   was in the eighties - upper eighties, and
24   the pen that they were in, and that they were    24   the animals were thirsty.
25   up to their knees, if not deeper, in mud.        25      Q. Did you go into any areas that were
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 I There was one that was laying in the water          I restricted areas?
 2 trough. It wasn't even determinable if that         2    A. No.
 3 animal was dead or alive. It was clear that         3    Q. And you said you took photographs,
 4   that they were in very undesirable                4 correct?
 5   conditions.                                       5    A. Correct.
 6       Q. When you went to the zoo, did you          6    Q. How many photos did you take?
 7   take a camera with you?                           7    A. I don't remember.
 8       A. I just had my phone.                       8    Q. Did you take videos, too?
 9       Q. Does your phone have a camera on it?       9    A. No.
10       A. It did.                                   10    Q. Did you take a tape measure with
11       Q. Did you use that?                         11 you?
12       A. I did.                                    12      A. No.
13       Q. Tell me about your visit then. What       13      Q.   In the time period you were at the
14   happened when you got there? Did you buy a       14   zoo, do you koow how long that was?
15   ticket?                                          15      A. I'd say it was several hours.
16       A. We did -- or I did, yes.                  16      Q. I assume you all came to the zoo
17       Q. And?                                      17   together, correct?
18       A. We went into the zoo.                     18      A. We did, correct.
19       Q. And what did you do after that?           19      Q. And you all left at the same time?
20       A. Do you mean while we were still in        20      A. Correct.
21   the zoo?                                         21      Q. A what conversations did you have
22       Q. I'm trying to figure out what you         22   with Pam Sellner?
23   did in the visit to the zoo. So if you could     23      A. I had no conversations with Pam.
24   give me kind of a narrative of what you did,     24      Q. Now, in your answers to
25   that would be good.                              25   interrogatories you indicate you made two or

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DEPOSITION OF NANCY HARVEY , 3/18/2015

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 I when you're at the zoo. You walk in the zoo,      I coyotes, and I saw the rabbits - a rabbit,
 2 you start to walk around and look at the          2 and then I saw the dog - two dogs. There
 3 animals, is that correct?                         3 was a shepard, sheep dog and a standard
 4    A. Right. The first place I went was           4 poodle, and they were part of the zoo
 5 into the reptile area, and that was right off     5 exhibit, and they had no water. I went to
 6 from the office, I believe. And I walked in       6 Pam and also stated the dogs had no water,
 7 and there were birds and a turtle, and some       7 and she said, that's okay, she'D do it
 8 chinchillas, and I believe there was an           8 later. But I was adamant that they really
 9 alligator in there. But what I remember is        9 needed water because their tank was
10 that it was very smeDy, and the birds had no     10 completely green with algae, and they were
II water, and if they did it was dirty and          11 looking into their water tank as if they were
12 cloudy, rues swarming everywhere, and the        12 really wanting water. And I told Pam I would
13 turtle sheD was completely dry and had no        13 help her, and she went ahead and filled a
14 water in his tank. I just remember the           14 bucket and I helped carry it through one
15 buildup of feces in the bottom of the cage.      15 gate, which apparently was a restricted area,
16 I was very upset, and I came out and asked       16 but I was with her. And then she went inside
17 Pam if she could give the birds water, which     17 into the where the dogs were, and I stayed
18 she concurred.                                   18 outside. I dido 't go into the area where the
19    Q. When you walk in the reptile area,         19 dogs were.
20 were you still with Lisa and Kriss, or were      20    Q. Did Pam teD you not to go in the
21 you by yourself!                                 21 restricted area?
22    A. No, I was by myself.                       22    A. No.
23    Q. Did you have a camera with you at          23    Q. So after that did you walk around
24 thetime?                                         24 the zoo some more then?
25    A. No, just my phone.                         25    A. Yes, I did. I wentto - I saw the
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 I       Q. Does your phone take pictures?           I Damas, and was appalled that they were
 2      A. Battery was dead.                         2 living in - there was a ton of excrement in
 3       Q. So the answer is no, you didn't--        3 their area. I saw the coyotes. They were
 4      A. No.                                       4 pacing back and forth looking stressed. I
 5       Q. --take any pictures?                     5 couldn't teD whether they had water or not.
 6      A. No, no pictures.                          6 Another concern - huge concern was the
 7       Q. After you told Pam that you thought      7 rabbit. It was matted and lUthy and had
 8   some of the animals needed water, she got       8 excrement at the bottom of its cage, and it
 9   water, is that correct?                         9 had no water. And I owned rabbits before and
I0      A. She did go in and she gave a couple      10 rabbits need water 2417, and it was very hot
II   of birds water, but I didn't see anything      11 out and they get hot very easily.
12   else getting water. The turtle was stili       12    Q. While you were going around, were
13   dry.                                           13 your two friends with you at the time?
14       Q. When you say a turtle, is it a          14    A. No. They had gone ahead of me.
15   turtle or a tortoise, do you know?             15 Honestly, I was very-- I was emotionally
16      A. I don't know the difference, a           16 distraught at what I was seeing. I was
17   turtle, a tortoise. It looked like a turtle,   17 almost shutting down. I really was so
18   and it's sheD was very dry. I don't know       18 fearful of looking at the other animals
19   whether - which one that is.                   19 because I knew I couldo 't really do anything
20       Q. Did you go into any areas that were     20 to make their life better, so I was just
21   restricted?                                    21 appalled. But I wanted to do something and I
22      A. No, I did not, uuless I did with Pam     22 dido 't know what that was going to be. But I
23   because I helped her, and she was with me at   23 did go to the ffighland cattle then after I
24   the time. When I walked out of the reptile     24 left the rabbit area, and that was another
25   house I went into where the - I saw the        25 area of concern. The small calf was crying,

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DEPOSITION OF TRACEY KUEHL , 3/18/2015

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 I       A. No.                                         I   that correct?
 2       Q. How long was that tour of the zoo?          2      A. That's correct.
 3       A. The same, roughly an hour and 15 to         3      Q. And who did you talk to that time?
 4   an hour and 30.                                    4      A. I don't recalL
 5       Q. And were you taking photographs on          5      Q. Do you think you might have talked to
 6   that time?                                         6   a deputy or the sheriffl
 7       A. Yes, I was.                                 7      A. No.
 8       Q. And on the June 6th visit you also          8      Q. You say that definitely. Why is
 9   took photographs, correct?                         9   that?
10       A. Yes.                                       10      A. I believe it was the same female -
11       Q. Besides asking Ms. Sellner whether         11      Q. Okay.
12   there were any special or new exhibits, did you   12      A. - that I spoke with.
13   talk to her at all?                               13      Q. What was the gist of that
14       A. Only about buying the food.                14   conversation? What did you say and what did
15       Q. Wheo you were leaving did you raise        15   she say?
16   any concerns with her about the zoo?              16      A. Very similar to the earlier
17       A. No.                                        17   conversation. I gave her my name, the reason
18       Q. Now, after you were at the zoo the         18   for my call, a welfare check on the animals,
19   first time, on June 25th appareotly you           19   and could I get a call back.
20   contacted the Iowa Departmeot of Agriculture      20      Q. And what did she say?
21   Land Stewardship, do you remember that?           21      A. She said I'll take your information.
22       A. Yes. I submitted a complaint.              22      Q. Did you ever get a call back?
23       Q. And you also contacted the USDA at         23      A. No.
24   the same time?                                    24      Q. You also filed a concern -- what is a
25       A. Yes.                                       25   concern, by the way? It's not a formal

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 I      Q. On June 28th you called the Delaware         1   complaint, correct?
 2   County Sheriff's Office, and that's a few days     2      A. No.
 3   after your visit, is that true?                    3      Q. You said you filed a concern with
 4      A. That's correct.                              4   IDALS and USDA on July 7th concerning the
 5      Q. What prompted you to call them on            5   July 6th visit?
 6   June 28th?                                         6      A. It would have been the same type of
 7      A. I recall the heat, the weather               7   document that I illed the first time, a formal
 8   conditions, and what I had seen on my visit a      8   complaint with IDALS.
 9   couple of days earlier.                            9      Q. So if it says concern, that really
10      Q. Who did you talk to at the sheriff's        10   should say formal complaint, is that --
11   office?                                           11      A. Yes.
12      A. I believe it would be a dispatcher.         12      Q. On July 23rd you had a meeting with
13      Q. Male or feroale?                            13   Randy Wheeler concerning the zoo inspection, is
14      A. Female.                                     14   that true?
15      Q. Tell me about your conversation with        15      A. That's correct.
16   a dispatcher.                                     16      Q. Were you with somebody else at that
17      A. I called, I told her my name, I told        17   meeting?
18   her the reason for my call, requested a welfare   18      A. No.
19   check on the aoimals, and requested a call back   19      Q. You weot by yourself?
20   when a check had been made.                       20      A. Yes.
21      Q. Did you get a call back?                    21      Q. Tell me about that meeting. What
22      A. No.                                         22   weot on there?
23      Q. It looks like on July 6th, the same         23      A. I visited with him at the IDALS
24   day you visited the second time, you also         24   office. I showed him some of the photographs
25   called the Delaware County Sherift's Office, is   25   that I had taken on my first two visits, and

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 I   expressed my concern that the animals were        I   the reason for your call there?
 2   being treated in a less than satisfactory         2      A. I had called the office originally
 3   manner.                                           3   inquiring whether or not IDNR had any
 4      Q.   What did Dr. Wheeler say to you?          4   jurisdiction over captive wildlife, and the
 5      A. He didn't say much of anything to me.       5   secretary in the office referred me to the IDNR
 6      Q. How did you leave it after that             6   officer who covered that area. He indicated to
 7   meeting? Was he going to get back to you, or      7   me the only jurisdiction he would have would be
 8   what?                                             8   over native species.
 9      A. Nope.                                       9      Q. Did that end your conversation with
10      Q. Did he tell you he was not going to        10   him then?
11   get back to you?                                 11      A. Yes.
12      A. Nope.                                      12      Q. You called the Department of Public
13      Q. Did you ask him to get back to you?        13   Health, is that correct?
14      A. Nope.                                      14      A. That's correct.
15      Q. On September 5, 2012, you also met         15      Q. It looks like you were transferred to
16   with Secretary Bill Northey and Steven Moline    16   Black Hawk County Department of Public Health?
17   with IDALS, is that right?                       17      A. Yes.
18      A. Yes.                                       18      Q. Did they do anything?
19      Q. Who is Steven Moline?                      19      A. No.
20      A. Steven Moline is a staff member at         20      Q. On December 2nd you called the
21   IDALS. His exact title I cannot recall, it's     21   Delaware County Sheriff's Office again, is that
22   rather lengthy. But he is one of the             22   true?
23   department heads for IDALS.                      23      A. That's correct.
24      Q. And tell me about that meeting. What       24      Q. Who did you talk to that time?
25   went on there?                                   25      A. Again, I believe it was a

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 I      A. It was very similar to my meeting           I   dispateh-type person, secretary.
 2   with Dr. Wheeler; I expressed my concern about    2      Q. And tell me about that conversation.
 3   the conditions that I had experienced at the      3      A. My recoUection is the weather turned
 4   zoo. I wanted him to be made aware of it,         4   quite bad about that time, and it was again
 5   given that IDALS issues a permit to the           5   very similar to the earlier conversations; I
 6   facility.                                         6   left my name, my phone number, the reason for
 7      Q. Was there a promise on any type of          7   my call was a welfare check given the winter
 8   action from that meeting?                         8   conditions, and could I get a reply back.
 9      A. No.                                         9      Q. Tell me what the dispatcher or person
10      Q. Did they indicate to you they would        10   you talked to said.
11   get back to you on anything?                     11      A. Thank you for registering your
12      A. No.                                        12   concern with us.
13      Q. Did you ask them to get back to you        13      Q. Did you get a call back?
14   on anything?                                     14      A. I don't recall tbat I did.
15      A. I don't recall that I asked them to        15      Q. On December 22nd it looks like you
16   get back tu me on anything.                      16   also -- again, it says filed a concern with
17      Q. You also talked to the Iowa DNR, is        17   IDALS and USDA. Now, is concern the same thing
18   that true?                                       18   as a formal complaint?
19      A. Yes.                                       19      A. Yes.
20      Q. Who did you talk to at the Iowa DNR?       20      Q. What happened to that complaint?
21      A. I don't recall the young gentleman's       21      A. I can't tell you what happened to it.
22   name. He was an IDNR officer in the Delaware     22      Q. You never got a response?
23   County office.                                   23      A. No.
24      Q. In the end, tell me the gist of that       24      Q. You also sent a letter to Dr. Robert
25   conversation. What did you say, and what was     25   Gibbons. He is the APHIS head, is that true?

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 I      A. Yes, that's true.                            I      A. Yes.
 2      Q. Did you get a response from                  2      Q. And tell me about that conversation.
 3   Dr. Gibbous?                                       3      A. Well, I believe that conversation was
 4      A. It's an automatic reply, thank you           4   connected to the weather conditions again at
 5   for your med concern.                              5   that time, knowing that there were native
 6      Q. And on January 2nd of2013 you had a          6   species, was there any planned inspection.
 7   conversation with Steven Moline at IDALS again,    7      Q. And you were looking for a planned
 8   correct?                                           8   inspection by Delaware County, is that right?
 9      A. Yes.                                         9      A. Of the Iowa Department of Natural
10      Q. It says regarding Iowa Code Chapter         10   Resources officer in Delaware County.
11   162.10A. What's that conceroing?                  11      Q. This would be the Delaware County
12      A. 162 is the chapter that deals with          12   Conservation office that you called?
13   care of animals in commercial establishments.     13      A. Yeah.
14   And I was looking for clarification from him      14      Q. Okay. On January 4th you contacted
15   with regard to that piece of the code and         15   Dr. Dave Schmitt, Iowa State veterinary, is
16   animals in a zoo situation.                       16   that right?
17      Q. Were you explaining about the               17      A. Yes.
18   facility at Cricket Hollow then, or not?          18      Q. What was your conversation with
19      A. I don't recall that I was explaining        19   Mr. Schmitt?
20   about it as much as I was looking for             20      A. Ifl recall, I believe it was again
21   clarification on the Code and how it would        21   centered on chapter 162, care of animals in
22   connect with this facility.                       22   commercial establishments, and the conditions
23      Q. The same day it looks like you called       23   that I observed at Cricket Hollow Zoo.
24   the mayor of Manchester, is that right?           24      Q. What did you say exactly about the
25      A. Yes, I did.                                 25   conditions you observed at Cricket Hollow Zoo,

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 I       Q. What was that conversation about?           I   if you remember?
 2       A. I wanted to express my concern about        2       A. That I thought they were less than
 3   the facility in his community, and he thanked      3   adequate, given what I understood Chapter 162
 4   me for the call and said I needed to call the      4   to identify.
 5   supervisors.                                       5       Q. What did Dr. Schmitt tell you?
 6       Q. Then oo January 3rd it looks like you       6       A. I don't recall exactly what he told
 7   did what he suggested, is that true, you           7   me outside of the fact that IDALS does conduct
 8   contacted a Delaware County supervisor?            8   inspection reports -- or conduct inspections.
 9       A. That's correct.                             9       Q. So no action was promised by
10       Q. How did you pick JeffMadlom to             10   Dr. Schmitt, is that right?
11   contact.                                          11       A. That's correct.
12       A. I didn't. He happened to be the            12       Q. January 4th you also had a
13   supervisor that was in the office that day.       13   cooversation with Dr. Randy Ridenour?
14       Q. Tell me about that conversatioo.           14       A. Yes.
15       A. I expressed my concern on the              15       Q. You were expressing coocero about the
16   facility, wanted someone in the Delaware County   16   livestock in a zoo setting, is that right?
17   leadership to know that I had some concerns       17       A. That's correct.
18   about it.                                         18       Q. And public contact with juvenile big
19       Q. What did be say?                           19   cats; in other words, baby tigers or something
20       A. He said, thank you. Delaware County        20   of that nature?
21   is a no-zone county, so there's not much we can   21       A. Yes.
22   do.                                               22       Q. Tell me about that conversation.
23       Q. On January 3rd you also had a              23   What did you say, and what did Dr. Ridenour
24   conversatioo with the Delaware County             24   tell you back?
25   Cooservatioo office, is that correct?             25       A. My question specifically to him had

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 I   to do with livestock in a class C exhibitor        I   a welfare check. Did you talk to the same
 2   setting, and whether or not livestock was a        2   person again, or do you know?
 3   regulated animal under the Animal Welfare Act      3      A. I couldn't tell you if it was the
 4   in that setting.                                   4   same person, or not, but it appeared to me to
 5       Q. Did Dr. Ridenour indicate to you            5   be a staff-type person who takes the calls.
 6   whether it was or not?                             6      Q. Male or female?
 7       A. I believe be indicated to me that           7      A. I believe female.
 8   they were regulated.                               8      Q. Same conversation again?
 9       Q. Now, in regard to Dr. Kate Zieg=            9      A. Yes.
10   -- or Zieg= I guess is how you pronounce          10      Q. Same response?
11   it -- you talked to her on April 24th, is that    11      A. Yes.
12   right?                                            12      Q. Which was they didn't respond to you?
13       A. That's correct.                            13      A. Correct.
14       Q. And you wanted to find out about the       14      Q. It looks like you contacted, had a
15   inspection process and the protocol for           15   phone call with a Delaware County Supervisor
16   submissions from the public; in other words if    16   Jerry Ries regarding a letter you sent on
17   you are going to submit something to the USDA,    17   September 22nd?
18   is that right?                                    18      A. Yes.
19       A. The general inspection process as a        19      Q. Tell me about your conversation with
20   whole, how did it work.                           20   Supervisor Jerry Ries.
21       Q. On April 28th -- I guess we are in         21      A. The letter had been sent to, again,
22   2013 still -- you received a letter from          22   leadership in Delaware County expressing my
23   Dr. Schmitt regarding animal care per the Iowa    23   continued concern about the conditions in the
24   Code. Was he trying to explain to you what        24   facility including public health safety,
25   that requirement was?                             25   potential problems. I felt they needed to be

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 I       A. Yes, and where his agency fit into          I   aware of it. He responded that - he thanked
 2   the protocoL                                       2   me for my concern. He told me, again, that
 3       Q. And it looks like you received a            3   there weren't much that the supervisors could
 4   reply on May 21st from Dr. Gibbons. It says,       4   do in this situation.
 5   your reply to my concerns, especially my           5       Q. You didn't get a response from the
 6   May 19th letter. Do you remember that at all?      6   sheriffs office, is that true?
 7       A. I don't recall it specifically.             7       A. That's correct.
 8       Q. Do you remember anything in general         8       Q. And you sent a copy of the same
 9   about it?                                          9   letter to the sheriffs office?
10       A. I don't recall that I got a personal       10       A. Yes.
11   letter as much as a thank you for your letter     11       Q. At some point in time you called
12   of concern.                                       12   AMP!, didn't you, about Ms. Sellner's milk
13       Q. More of a form letter, you mean?           13   operation?
14       A. Yeab. Yes.                                 14       A. Yes, I did.
15          (Discussion was held off the record.)      15       Q. When was that?
16       Q. On June 27, 2013, you also, it says,       16       A. I cannot tell you the exact date. I
17   filed a concern -- each time I see the word       17   believe it would have been in early 2014.
18   concern here, should I read that to mean formal   18       Q. Tell me about the conversation. Why
19   complaint?                                        19   did you call AMP!?
20       A. Complaint, yes.                            20       A. Again, I called them -- I knew that
21       Q. -- with the IDALS, and also the USDA       21   the dairy was a member of this parlicular
22   reference your June 23rd visit?                   22   co-op. My concern again was for the conditions
23       A. Correct.                                   23   that I had experienced at the zoo, the close
24       Q. September I Oth again you tried to         24   proximity of the zoo and exotic aoimals to an
25   call the Delaware County Sheriffs Office about    25   operating dairy herd, aod whether or not that

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